Entered: May 15th, 2019
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Signed: May 14th, 2019

SO ORDERED




                                          UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF MARYLAND
                  IN THE MATTER OF:

                  Thanh D. Zito                                       Case No.: 18-20791
                                                                      Chapter 13

                              DEBTOR(S)


                  Nationstar Mortgage LLC, d/b/a Mr. Cooper


                             MOVANT
                              vs.
                  Thanh D. Zito



                              RESPONDENT(S)


                          CONSENT ORDER AND STIPULATION MODIFYING AUTOMATIC STAY
                  TO THE HONORABLE, THE JUDGE OF SAID COURT:

                         Upon consideration of the foregoing Motion Seeking Relief from Automatic Stay, the
                  parties having reached an agreement, and good cause having been shown, by the United States
                  Bankruptcy Court for the District of Maryland.




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      ORDERED that the Automatic Stay be, and it is, hereby terminated, pursuant to 11
U.S.C. 362(d), to permit Movant, its assigns and/or successors, to commence foreclosure
proceedings in the Circuit Court for Harford County, Maryland against the real property and
improvement known as 625 Milford Court, Abingdon, MD 21009 and that the successful
purchasers shall take possession of the same; and be it further

      ORDERED that the relief granted in the immediately proceeding paragraph be, and the
same is hereby stayed, provided that the Debtor(s):
      1. Resume(s) making regular monthly payments on May 1, 2019, of $1189.56 or as
adjusted for escrow changes and continue thereafter, as well as all other conditions and
obligations under the terms of the Deed of Trust or Mortgage, and

      2. Make(s) a payment of $966.79 for (6) months beginning May 15, 2019 , and continue
through October 15, 2019. The total post-petition arrearage due from December 1, 2018 to
April 1, 2019 is $5800.72 which includes $1031.00 bankruptcy legal fees.

      Payments should be mailed to:
               Nationstar Mortgage LLC/Attn: Bankruptcy Dept.
               PO Box 619094
               Dallas, TX 75261-9741
       Should the Debtor(s) fail to make any payment when due or should any payment be
returned for insufficient funds, Movant shall file a Notice of Default with the Court. Said
Notice shall provide copies to the Debtor(s) and Debtor(s)' attorney and allow the Debtor(s)
ten (10) days from the date the Affidavit of Default is mailed to cure two (2) default(s) under
this agreement. Any cure of an Affidavit of Default must be made in the form of a certified or
cashier's check, or Western Union Quick Collect. No right shall be given to cure any ensuing
default. In the event of a subsequent default and upon notice to Debtor(s), Debtor(s)' counsel
and the Court the stay shall automatically terminate.

      The fourteen (14) day stay of Bankruptcy Rule 4001(a)(3) is waived.

      The parties agree that if the Debtor(s) converts this case to a Chapter 7, the Movant may
immediately exercise all rights provided by the security instruments referenced in this Order
and applicable state law.


___________________________________
/s/Lawrence  A. Price, Jr.                       ___________________________________
                                                 /s/ Richard J. Rogers
Lawrence A. Price, Jr., Esquire                  Richard J. Rogers, Esquire
Attorney for Debtor                              Cohn, Goldberg & Deutsch, LLC
                                                 600 Baltimore Avenue, Suite 208
                                                 Towson, MD 21204
                                                 410-296-2550
                                                 Fax: 410-296-2558
                                                 Email: bankruptcyecf@cgd-law.com
                                                 Federal Bar #: 01980 (MD)
                                                 Attorney for Movant



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       I HEREBY CERTIFY that the terms of the copy of the consent order submitted to the
Court are identical to those set forth in the original consent order; and the signatures
represented by the /s/________ on this copy reference the signatures of consenting parties on
the original consent order.

                                                 /s/ Richard J. Rogers
                                                 ___________________________________
                                                 Richard J. Rogers, Esquire
                                                 Cohn, Goldberg & Deutsch, LLC
                                                 600 Baltimore Avenue, Suite 208
                                                 Towson, MD 21204
                                                 410-296-2550
                                                 Fax: 410-296-2558
                                                 Email: bankruptcyecf@cgd-law.com
                                                 Federal Bar #: 01980 (MD)
                                                 Attorney for Movant
Copies to:
Thanh D. Zito
625 Milford Court
Abingdon, MD 21009
and respondent(s)' counsel:
Lawrence A. Price, Jr., Esquire
808 South Main Street
Bel Air, MD 21014
Robert S. Thomas, II, Trustee
300 E. Joppa Road, Suite 409
Towson, MD 21286
Cohn, Goldberg & Deutsch, LLC
600 Baltimore Avenue, Suite 208
Towson, MD 21204
                                          End of Order




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